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  1            1.    I am an attorney licensed to practice before all courts in the State of
  2   California and the United States District Court for the Central District of California, and
  3   I am an associate with the law firm of Hawkins Parnell Thackston & Young LLP,
  4   attorneys of record for Defendant JOHN CRANE INC. in the above-captioned action.
  5   I have personal knowledge of the facts set forth in this Declaration and, if called as a
  6   witness, could and would testify competently to such facts under oath.
  7            2.    Attached as Exhibit A is a true and correct copy of the relevant portions of
  8   Plaintiffs’ Summons and Complaint, filed on May 7, 2015, in the Los Angeles Superior
  9   Court.
 10            3.    Attached as Exhibit B is a true and correct copy of Plaintiffs’ Preliminary
 11   Fact Sheet, filed in connection with Plaintiffs’ Complaint on May 7, 2015 in the Los
 12   Angeles Superior Court.
 13            4.    Attached as Exhibit C is a true and correct copy of the relevant portions of
 14   Plaintiffs’ First Amended Complaint, filed on May 20, 2015, in the Los Angeles Superior
 15   Court.
 16            5.    This motion is made following the conference of counsel pursuant to L.R.
 17   7-3, which took place on June 17, 2015.
 18

 19            I declare under penalty of perjury under the laws of the United States of America
 20   that the foregoing is true and correct. Executed on this 18th day of June 2015, at Los
 21   Angeles, California.
 22

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                                                            ____________________________
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                                                                 J. KYLE GAINES
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       DECLARATION OF J. KYLE GAINES IN SUPPORT OF JCI’S NOTICE OF MOTION AND MOTION TO
                           DISMISS FOR LACK OF PERSONAL JURISDICTION
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